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                                              #:32


      SO. CAL. EQUAL ACCESS GROUP
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 6    ROBERT CAULEY
 7
                                 UNITED STATES DISTRICT COURT
 8
                                CENTRAL DISTRICT OF CALIFORNIA
 9
10    ROBERT CAULEY,                                    Case No.: 2:22-cv-08179 ODW (RAOx)
11
                   Plaintiff,
12                                                      NOTICE OF VOLUNTARY
            vs.                                         DISMISSAL OF ENTIRE ACTION
13                                                      WITHOUT PREJUDICE
14    FORECASTLE HOUSING, LLC; and
      DOES 1 to 10,
15
                   Defendants.
16
17
18          PLEASE TAKE NOTICE that ROBERT CAULEY
19    (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby

20    voluntarily dismisses the entire action without prejudice pursuant to Federal Rule of Civil
21    Procedure Rule 41(a)(1) which provides in relevant part:
22          (a) Voluntary Dismissal.
23                 (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
24                        and any applicable federal statute, the plaintiff may dismiss an action
25                        without a court order by filing:
26                        (i)     A notice of dismissal before the opposing party serves either an
27                                answer or a motion for summary judgment.
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         NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITHOUT PREJUDICE
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                                            #:33



 1    None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 2    summary judgment. Accordingly, this matter may be dismissed without an Order of the
 3    Court.
 4
 5    DATED: November 23, 2022              SO. CAL. EQUAL ACCESS GROUP
 6
 7                                          By:       /s/ Jason J. Kim
 8                                                  Jason J. Kim, Esq.
                                                    Attorneys for Plaintiff
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        NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITHOUT PREJUDICE
